     Case 5:18-cv-02548-JGB-SP Document 85 Filed 04/22/21 Page 1 of 9 Page ID #:391



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8     United States of America
9                              UNITED STATES DISTRICT COURT
10                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
11                                   EASTERN DIVISION
12    UNITED STATES OF AMERICA,                   Case No.: 5:18-cv-02548-JGB-SP
                                                  (consolidated with 5:19-cv-00915-JGB-SP)
13               Plaintiff,
14                      v.                        Amended Judgment: (1) Dismissal of Count
15    SERGIO PEREZ, individually and as           III of the Amended Complaint; (2)
      Trustee of the Perez Family Trust;          Foreclosure of Federal Tax Liens and Order
16    CHRISTINA PEREZ, individually and           of Sale of Real Property Located at 14365
      as Trustee of the Perez Family Trust;
17    PEREZ FAMILY TRUST;                         Pleasant Hill Drive, Chino Hills, CA
      DEUTSCHE BANK NATIONAL
18    TRUST COMPANY;
      SCHOOLSFIRST FEDERAL CREDIT
19    UNION; ORANGE COUNTY
      DEPARTMENT OF CHILD
20    SUPPORT SERVICES; SAN
      BERNARDINO COUNTY
21    TREASURER-TAX COLLECTOR;
      WINDINGWALK MASTER
22    ASSOCIATION; STATE OF
      CALIFORNIA EMPLOYMENT
23    DEVELOPMENT DEPARTMENT;
      MORNINGSTAR POOL AND SPA;
24    AMERICAN EXPRESS CENTURION
      BANK; HARRISON BUILDING INC.;
25    LOBEL FINANCIAL CORP.;
      SMARTVEST GROUP, LLC;
26    DERRICK COTTON,
27               Defendants.
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     Case 5:18-cv-02548-JGB-SP Document 85 Filed 04/22/21 Page 2 of 9 Page ID #:392




1           Based upon the Stipulation for Entry of Judgment for Foreclosure of Federal
2     Tax Liens entered into by Plaintiff United States of America and defendants Sergio
3     Perez and the Perez Family Trust (Doc. No 67), the Stipulation for Entry of Judgment
4     for Foreclosure of Federal Tax Liens and Order of Sale entered into by Plaintiff
5     United States of America and defendants Sergio Perez, the Perez Family Trust,
6     SmartVest Group LLC, Deutsche Bank National Trust Company, SchoolsFirst Federal
7     Credit Union, and State of California Employment Development Department
8     (“Defendants”) (Doc. No. 82), and the Stipulation to Amend Judgment: (1) Dismissal
9     of Count III of the Amended Complaint; (2) Foreclosure of Federal Tax Liens and Order
10    of Sale of Real Property Located at 14365 Pleasant Hill Drive, Chino Hills, CA (Doc.
11    No. 84), it is hereby
12    ORDERED, ADJUDGED, AND DECREED that:
13          A.     Count III of the Amended Complaint
14                 Count III of the amended complaint, which seeks to foreclose federal tax
15    liens against the cause of action brought by Defendant SmartVest Group LLC, is
16    dismissed.
17          B.     Foreclosure of Federal Tax Liens
18          1. Defendant Perez Family Trust is the record owner of the real property
19    commonly known as 14365 Pleasant Hill Drive, Chino Hills, CA (the " Real
20    Property"), legally described as follows:
21          Lot 101 of Tract No. 13651-12, in the City of Chino, County of San
22          Bernardino, State of California, as per plat recorded in Book 227, Page(s)
            3 through 14 inclusive, of maps, in the office of the County Recorder of
23          said county.
24          Except therefrom all oil, gas, minerals, and other hydrocarbon substances,
25          without the right of surface entry, as reserved in the deed recorded in Book 428,
26          Page 336, of Deeds.

27          The Perez Family Trust holds title to the Real Property as Sergio Perez's

28    nominee.
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     Case 5:18-cv-02548-JGB-SP Document 85 Filed 04/22/21 Page 3 of 9 Page ID #:393




1           2. Federal tax liens arose against defendant Sergio Perez on the dates of the
2     assessments described below and attached to, and remain valid and enforceable
3     against, the Real Property:
4        Tax Period        Assessment Date               Assessment Type               Amount
        3/31/2007         12/10/2008             26 U.S.C. § 6672 Penalty               $202,165.31
5
                                                 Balance due as of 5/10/2019            $291,591.78
6                                                26 U.S.C. § 6672 Penalty               $195,027.37
        9/30/2007         12/10/2008
7                                                Balance due as of 5/10/2019            $287,280.52
        12/31/2007        5/18/2009              26 U.S.C. § 6672 Penalty               $188,615.15
8
                                                 Balance due as of 5/10/2019            $272,122.75
9       9/30/2011         5/26/2016              26 U.S.C. § 6672 Penalty               $213,600.90

10                                               Balance due as of 5/10/2019            $244,000.79
        12/31/2011        5/26/2016              26 U.S.C. § 6672 Penalty               $242,236.04
11                                               Balance due as of 5/10/2019            $276,647.12
12      3/31/2012         5/26/2016              26 U.S.C. § 6672 Penalty               $308,657.84
                                                 Balance due as of 5/10/2019            $352,504.54
13                                               26 U.S.C. § 6672 Penalty               $230,144.99
        6/30/2012         5/26/2016
14                                               Balance due as of 5/10/2019            $262,838.47
        9/30/2012         5/26/2016              26 U.S.C. § 6672 Penalty               $327,085.00
15
                                                 Balance due as of 5/10/2019            $373,549.39
16                                               26 U.S.C. § 6672 Penalty               $477.591.32
        12/31/2012        5/26/2016
17                                               Balance due as of 5/10/2019            $545,436.03
        3/31/2013         6/13/2016              26 U.S.C. § 6672 Penalty               $345,843.07
18
                                                 Balance due as of 5/10/2019            $381,931.98
19      6/30/2013         6/13/2016              26 U.S.C. § 6672 Penalty               $365,272.91
20                                               Balance due as of 5/10/2019            $416,342.32
        9/30/2013         6/13/2016              26 U.S.C. § 6672 Penalty               $309,419.53
21
                                                 Balance due as of 5/10/2019            $352,680.00
22      12/31/2013        6/13/2016              26 U.S.C. § 6672 Penalty               $177,284.35
                                                 Balance due as of 5/10/2019            $202,070.77
23
24          3.       The United States is entitled to foreclose the tax liens and sell the Real
25    Property. The United States shall not exercise its right to sell the Real Property for 180
26    days from the date original judgment was entered (April 27, 2020).
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     Case 5:18-cv-02548-JGB-SP Document 85 Filed 04/22/21 Page 4 of 9 Page ID #:394




1           4.       Based on the Disclaimer of Interest filed by the San Bernardino County
2     Treasurer-Tax Collector (Doc. No 35), the interest in the Real Property, if any, of the
3     San Bernardino County Treasurer-Tax Collect is hereby extinguished.
4           5.       Based on the Disclaimer of Interest filed by the Orange County Department
5     of Child Support Services (Doc. No 40), the interest in the Real Property, if any, of the
6     Orange County Department of Child Support Services is hereby extinguished.
7           6.       The interest in the Real Property, if any, of Christina Perez, Derrick Cotton,
8     Morningstar Pool and Spa, American Express Centurion Bank, Harrison Building Inc.,
9     Lobel Financial Corp., and Windingwalk Master Association, was extinguished pursuant
10    to the default judgments entered against those defendants (Doc. No 80).
11          C.       Procedure for Foreclosure
12          The Real Property shall be sold according to the following procedure for
13    foreclosure:
14          1.       The Real Property shall be sold by the Area Director of the Internal
15    Revenue Service, Los Angeles, California Area (hereinafter “Area Director”), or his
16    delegate, the Internal Revenue Service Property Appraisal and Liquidation Specialist
17    (“PALS”) in accordance with the provisions of Title 28, United States Code, Sections
18    2001 and 2002.
19          2.       Any party to this proceeding or any person claiming an interest in the Real
20    Property may move the Court, pursuant to Title 28, United States Code, Section 2001(b),
21    for an order for a private sale of the Real Property. Any such motion shall be filed
22    within twenty (20) days of the date of this Judgment and shall set forth with particularity
23    (a) the nature of the moving party’s interest in the property, (b) the reasons why the
24    moving party believes that a private sale would be in the best interests of the United
25    States of America and any other claimant involved herein, (c) the names of three
26    proposed appraisers and a short statement of their qualifications, and (d) a proposed form
27    of order stating the terms and conditions of the private sale. Any such motion shall
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     Case 5:18-cv-02548-JGB-SP Document 85 Filed 04/22/21 Page 5 of 9 Page ID #:395




1     comply with Rule 7 of the Local Rules of the District Court for the Central District of
2     California.
3           3.      The Area Director, or the PALS, is ordered to sell the Real Property if it
4     does not become the subject of a motion pursuant to the preceding paragraph, in
5     accordance with Title 28, United States Code, Sections 2001(a) and 2002. The Real
6     Property shall be sold by public sale at a courthouse in San Bernardino County or upon
7     the premises of the Real Property as follows:
8                a. The PALS shall announce the date and time for sale.
9                b. Notice of the sale shall be published once a week for at least four (4)
10          consecutive weeks prior to the sale in at least one newspaper regularly issued and
11          of general circulation in San Bernardino County, California. Said notice shall
12          describe the Real Property by both its street address and its legal description, and
13          shall contain the terms and conditions of sale as set out herein.
14               c. The terms and conditions of sale shall be as follows:
15                     i.   A minimum bid determined by reference to the current fair market
16                  value shall be required. The minimum bid shall be 75% of the current fair
17                  market value as determined by an appraisal of the Real Property by the
18                  PALS. The terms of sale as to all persons or parties bidding shall be by
19                  money order or by certified or cashier’s check.
20                    ii.   If the minimum bid is not met or exceeded, the PALS may, without
21                  further permission of this Court, and under the terms and conditions in this
22                  order of sale, hold a new public sale, if necessary, and reduce the minimum
23                  bid.
24                   iii.   At the time of the sale, the successful bidder shall be required to
25                  deposit with the PALS, by cash, money order, or by certified or cashier’s
26                  check payable to the United States District Court for the Central District of
27                  California, a deposit equal to twenty percent (20%) of the bidder’s total bid
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     Case 5:18-cv-02548-JGB-SP Document 85 Filed 04/22/21 Page 6 of 9 Page ID #:396




1                  immediately upon the property being struck off and awarded to such bidder
2                  as the highest and best bidder.
3                   iv.   The successful bidder shall remit the remaining eighty percent (80%)
4                  of said purchase price to be paid on or before 5:00 p.m., within three (3)
5                  business days of the date of sale, by cash, money order, or by certified or
6                  cashier’s check payable to the United States District Court for the Central
7                  District of California.
8                    v.   The cash, money order, or certified or cashier’s check payable to the
9                  United States District Court for the Central District of California shall be
10                 given to the PALS by the successful bidder, who will deposit the funds with
11                 the Clerk of this Court.
12                  vi.   Should the successful bidder fail to comply with the terms of the sale,
13                 such bidder shall be liable to the United States for twenty percent (20%) of
14                 the value of the property as a penalty. The Clerk shall distribute the 20%
15                 penalty as directed by the PALS by check made to the “United States
16                 Treasury” to be applied toward payment of said penalty. Payment of said
17                 penalty shall not be a credit on the judgment of the United States. The Real
18                 Property shall again be offered for sale under the terms and conditions of
19                 this order for sale or, in the alternative, sold to the second highest bidder.
20          4.     The Clerk of the District Court is directed to accept the proceeds of the sale
21    and deposit it into the Court’s registry for distribution pursuant to a further order.
22          5.     Upon selling the Real Property, the United States of America shall prepare
23    and file with this Court an Application by the United States of America Confirming Sale
24    and Directing Distribution of Sale Proceeds, which will set forth an accounting and
25    report of sale for the Real Property, and shall give to the purchaser a Certificate of Sale
26    containing the description of the property sold and the price paid. The sale of the Real
27    Property shall be subject to confirmation by this Court. The Application by the United
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     Case 5:18-cv-02548-JGB-SP Document 85 Filed 04/22/21 Page 7 of 9 Page ID #:397




1     States of America Confirming Sale and Directing Distribution of Sale Proceeds shall be
2     filed within thirty (30) days from the date of such sale. If no objections have been filed
3     in writing in this case with the Clerk of the Court within fifteen (15) days of the date of
4     sale, the sale shall be confirmed by the Court without necessity of motion. On
5     confirmation of the sale, the Court will direct the Internal Revenue Service to execute
6     and deliver its deed conveying the Real Property to the purchaser. On confirmation of
7     the sale, all interests in, liens against, or claims to the Real Property that are held or
8     asserted by all parties to this action are discharged and extinguished.
9           6.      Possession of the Real Property after the sale shall be yielded to the
10    purchaser upon the production of the Certificate and Sale of Deed; and if there is refusal
11    to so yield, a Writ of Assistance may, without further notice, be issued by the Clerk of
12    this Court to compel delivery of the Real Property sold to the purchaser.
13          7.      Until the Real Property is sold, defendant Sergio Perez:
14                  a.    Shall take all reasonable steps necessary to preserve the property
15               (including all buildings, improvements, fixtures and appurtenances on the
16               property) in its current condition including, without limitation, maintaining a
17               fire and casualty insurance policy on the property;
18                  b.    Shall timely pay all real property taxes, mortgage payments,
19               homeowners association dues (if any), and homeowner insurance premiums;
20                  c.    Shall neither commit waste against the property nor cause nor permit
21               anyone else to do so;
22                  d.    Shall neither do anything that tends to reduce the value or
23               marketability of the property nor cause nor permit anyone else to do so; and
24                  e.    Shall not record any instruments, publish any notice, or take any
25               other action (such as running newspaper advertisements, posting signs, or
26               making internet postings) that may directly or indirectly tend to adversely
27               affect the value of the property or that may tend to deter or discourage potential
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     Case 5:18-cv-02548-JGB-SP Document 85 Filed 04/22/21 Page 8 of 9 Page ID #:398




1                bidders from participating in the public auction, nor cause nor permit anyone
2                else to do so.
3           8.      After the Court confirms the sale of the Real Property, and by Order on the
4     application made by the United States of America as to the specific amounts at issue, the
5     sale proceeds deposited with the Clerk of this court shall be applied to the following
6     items, in the order specified:
7                   a. First, to the United States of America, for the expenses of the sale of the
8                Real Property;
9                   b. Second, to Deutsche Bank National Trust Company based on a certain
10               Deed of Trust recorded on September 19, 2003 in the Official Records, County
11               of San Bernardino, as Document No. 2003-0707235;
12                  c. Third, to SchoolsFirst Federal Credit Union based on a certain Deed of
13               Trust recorded on August 16, 2007 in the Official Records, County of San
14               Bernardino, as Document No. 2007-0478552;
15                  d. Fourth, to the United States for the federal Trust Fund Recovery
16               Penalties assessed against Sergio Perez for the first, third and fourth quarters of
17               2007;
18                  e. Fifth, to the State of California Employment Development Department
19               for the state Trust Fund Recovery Penalties assessed against Sergio Perez for
20               the fourth quarter of 2011, and the first, second, third, and fourth quarters of
21               2012; and
22                  f. Sixth, to the United States for the remaining federal Trust Fund
23               Recovery Penalties assessed against Sergio Perez.
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     Case 5:18-cv-02548-JGB-SP Document 85 Filed 04/22/21 Page 9 of 9 Page ID #:399




1           9.     The Court hereby retains jurisdiction of this action for the purpose of
2     making proper distributions of the proceeds of the sale, and resolving any dispute, if any,
3     pursuant to the Application by the United States of America Confirming Sale and
4     Directing Distribution of Sale Proceeds, and Order of this Court upon said Application.
5
            IT IS SO ORDERED.
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      Dated: April 22, 2021                     _______________________________
8                                               HON. JESUS G. BERNAL
9                                               United States District Judge

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